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16
                                  UNITED STATES DISTRICT COURT
17
                                 NORTHERN DISTRICT OF CALIFORNIA
18
                                        SAN JOSE DIVISION
19
     FREE SPEECH SYSTEMS, LLC, a Texas            Case No. 5:18-cv-06013 LHK (SVK)
20   limited liability company,
                                                  PAYPAL’S OPPOSITION TO
21                  Plaintiff,                    PLAINTIFF’S EMERGENCY MOTION
                                                  FOR A TEMPORARY RESTRAINING
22             v.                                 ORDER AND PRELIMINARY
                                                  INJUNCTION
23   PAYPAL, INC., a Delaware corporation,
                                                  Judge:     Hon. Lucy H. Koh
24                  Defendant.
                                                  Action Filed: October 1, 2018
25
                                                  Trial Date: None
26

27

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 1             Defendant PayPal, Inc. (“PayPal”) opposes Plaintiff Free Speech Systems, LLC’s (“FSS”)

 2   First and Second Emergency Motions for a Temporary Restraining Order and Preliminary

 3   Injunction.

 4   I.        INTRODUCTION
 5             FSS’s “emergency motion”—which seeks to force PayPal to continue to provide payment

 6   processing services to FSS’s online store, despite PayPal’s undisputed contractual right to

 7   terminate those services—fails to satisfy any of the requirements for a temporary restraining order

 8   or preliminary injunction and should be denied.

 9             First and foremost, FSS has not established, and cannot establish, any likelihood of

10   immediate and irreparable harm. According to FSS, PayPal is simply one “popular method by

11   which consumers purchase goods” from FSS. TRO Br. at 30. It is not the only method; FSS

12   concedes that there are others. Indeed, PayPal is just one of many commercial payment

13   processing services in the market. FSS offers no evidence that it cannot secure payment

14   processing services from an alternative provider, or that it has even attempted do so in the days

15   since it was notified of PayPal’s decision to terminate the parties’ business relationship.

16   Furthermore, even if FSS were to lose some sales while it transitions to a different payment

17   processing service, any such harm can be compensated with money damages; it is not irreparable

18   and does not warrant the extraordinary remedy of a temporary restraining order. FSS offers only

19   conclusory assertions to the contrary.

20             Second, FSS also fails to establish a likelihood of success on the merits of any of its

21   claims. FSS attempts to invoke California’s Unruh Civil Rights Act, Cal. Civ. Code § 51 (the

22   “Unruh Act”), which prohibits discrimination based on an individual’s membership in a particular

23   group. But even if peddlers of inflammatory, tabloid-style news and conspiracy theories could

24   otherwise qualify as a protected group under the Act, the Unruh Act protects individuals from

25   discrimination. It does not apply to commercial enterprises such as FSS, and it has never been

26   applied under circumstances remotely similar to those before this Court. And, even if the act did

27   apply, FSS has not established that it is a member of a protected group under the Unruh Act. FSS

28   merely asserts that it is “politically conservative and sells to a conservative audience.” TRO Br.
                                                       1
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 1   at 12. Being a politically conservative (or liberal) commercial entity is not akin to individual

 2   membership in a protected group. If it were, any for-profit business could claim protection under

 3   the Unruh Act.

 4             FSS’ unfair competition law (“UCL”) claim also badly misses the mark. FSS contends

 5   that PayPal’s express prohibition on activities related to the “promotion of hate, violence, racial

 6   or other forms of intolerance” is unconscionable and therefore violative of the UCL. See TRO

 7   Br., Ex. 8. The premise of FSS’ argument is contrary the fundamental purpose of the UCL,

 8   which is to promote fairness in commercial markets. Kasky v. Nike, Inc., 27 Cal. 4th 939, 949

 9   (2002), as modified (May 22, 2002). Moreover, FSS’ UCL claim is based on the false premise

10   the “News Sites” (inforwars.com and prisonplanet.com) and the “Store Site”

11   (infowarssstore.com) are essentially unrelated, and that it is unconscionable for PayPal to

12   terminate its relationship with the Store Site based on the “off-platform” activities of the News

13   Sites. TRO Br. at 15. But one need only go to the home pages of the News Sites and the Store

14   Site to see that they are one-in-the-same. The News Sites promote the Store Site and its products,

15   and the revenue from the Store Site directly funds the activities of the News Sites. The News

16   Sites also directly solicit donations and subscription fees, also processed by PayPal. Simply put,

17   PayPal has the contractual right to terminate its relationship with any user for any reason,

18   including but not limited to, violations of PayPal’s Acceptable Use Policy.

19             FSS’ breach of the implied covenant of good faith and fair dealing claim is equally

20   without merit. PayPal’s User Agreement with FSS grants PayPal the discretion to terminate its

21   services at any time, for any reason, upon notice. (“PayPal, in its sole discretion, reserves the
                                                          1
22   right to suspend or terminate this user agreement”). FSS does not contend otherwise. And “[a]s

23   to acts and conduct authorized by the express provisions of the contract, no covenant of good

24   faith and fair dealing can be implied which forbids such acts and conduct.” Carma Developers

25   (Cal.), Inc. v. Marathon Dev. California, Inc., 2 Cal. 4th 342, 374 (1992). In other words, with

26   1
       See Declaration of Khari J. Tillery in Support of PayPal’s Opposition to Plaintiff’s Emergency
27   Motion for a Temporary Restraining Order and Preliminary Injunction. (“Tillery Decl.”) Ex. A
     (PayPal User Agreement) at 33-34; https://www.paypal.com/us/webapps/mpp/ua/useragreement-
28   full.
                                                      2
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 1   only a narrow exception not alleged to apply here, “[c]ourts are not at liberty to imply a

 2   covenant directly at odds with a contract’s express grant of discretionary power[.]” Third Story

 3   Music, Inc. v. Waits, 41 Cal. App. 4th 798, 808 (1995) (emphasis added). Because FSS’ request

 4   for injunctive relief is contrary to this rule, FSS has not established, and cannot establish, a

 5   likelihood of success on the merits.

 6             Finally, the balance of the equities tips strongly in PayPal’s favor, as the relief FSS

 7   seeks—forcing PayPal to continue to provide services to a commercial enterprise whose
                                                                                       2
 8   activities are contrary to PayPal’s own core values of diversity and inclusion —would violate

 9   PayPal’s exercise of its constitutionally protected right to free speech. See, e.g., Janus v. Am.

10   Fed'n of State, Cty., & Mun. Employees, Council 31, 138 S. Ct. 2448, 2464 (2018). Furthermore,

11   under the doctrine of unclean hands, FSS’ own misconduct—including secretly recording its

12   telephone conversation with PayPal and posting it to the internet without permission to generate

13   publicity—precludes the possibility of the extraordinary equitable relief it seeks. For the same

14   reasons, the public interest would not be served by granting the unprecedented injunctive relief

15   requested by FSS.

16             For all these reasons, as explained in detail below, FSS motion for a temporary

17   restraining order and preliminary injunction should be denied.

18   II.       RELEVANT BACKGROUND
19             FSS is a for-profit Texas limited liability company that operates the websites “Infowars”

20   and “PrisonPlanet,” among other commercial ventures. Infowars and PrisonPlanet offer a

21   mélange of tabloid-style sensationalist and fake news stories targeting, among others, ethnic and
                                                                       3
22   religious minorities and members of the LGBQT community. The websites also advertise a
                                                                                                         4
23   variety of nutritional supplements and other products that are sold through FSS’ online store.

24   2
       https://www.paypal.com/stories/us/our-commitment-to-diversity-and-inclusion-at-paypal
25   3
       Infowars is perhaps most notorious for spreading false reports that the mass shooting of children
     at Sandy Hook Elementary School in Newtown, Connecticut was an elaborate government hoax
26   involving actors, rather than actual victims. See, e.g., https://www.nbcnews.com/tech/tech-
     news/after-years-crisis-actor-smears-sandy-hook-conspiracy-targets-ask-n892926.
27   4
       See https://www.infowars.com/; https://www.prisonplanet.com/;
28   https://www.infowarsstore.com/.
                                                       3
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 1   All of these websites are interrelated. The News Sites (Infowars and PrisonPlanet) include

 2   prominent links to the Store Site and advertisements for products sold on the Store Site. Tillery

 3   Decl., Exs. B and C (screen shots News Sites home pages). Conversely, the Store Site

 4   (InfowarsStore) touts the fact that its profits are being used to support the activities of the News

 5   Sites. Id., Ex. D (screen shot of the Store Site homepage) (“We’re proud of our fellow patriots

 6   and Infowarriors for taking part and helping to support us in the fight for truth. … Your gracious

 7   support for our crew in the fight for liberty goes directly towards independent alternative news

 8   media, and we owe all of our success and effectiveness to you.”).

 9             According to FSS, since approximately 2007, FSS has contracted with PayPal to provide

10   FSS’ payment processing services to its subsidiary websites. Declaration of Alex Jones (“Jones
                    5
11   Decl.”) ¶ 10. According to FSS, “PayPal is a popular method by which customers purchase

12   goods on the Store Site.” TRO Br. at 20. PayPal’s User Agreement governs the parties’
13   commercial relationship and provides that PayPal may suspend or terminate access to or use of
14   its websites, software, systems, or services for any reason and at any time upon notice to the FSS:
15             PayPal, in its sole discretion, reserves the right to suspend or terminate this user
               agreement, access to or use of its websites, software, systems (including any networks and
16             servers used to provide any of the PayPal services) operated by us or on our behalf or
               some or all of the PayPal services for any reason and at any time upon notice to you and,
17             upon termination of this user agreement, the payment to you of any unrestricted funds
               held in your PayPal balance.6 (Emphasis added)
18

19   Tillery Decl., Ex. A at 33-34 (emphasis added)

20             On September 20, 2018, PayPal provided telephonic notice to FSS pursuant to the User

21   Agreement that it was terminating FSS’ accounts. Tillery Decl., Ex. E (Declaration of Heidi

22   Machock (“Machock Decl.”)) ¶¶ 4-8. Although it was not required to provide FSS with any

23   grace period, PayPal informed FSS that it was giving the company ten business days to transition

24   to other payment processors, of which there are many. Id. ¶ 7; Tillery Decl., Ex. F (Declaration

25   of Lisa Hrabosky (“Hrabosky Decl.”)) ¶¶ 3-6. PayPal also offered to help FSS transition to a

26
     5
       Specifically, FSS asserts that PayPal has provided services to the “Store Site” since 2000, and
27   that FSS “assumed ownership and operation of the Store Site and PayPal accounts” in 2007. Id.
     6
28     See https://www.paypal.com/us/webapps/mpp/ua/useragreement-full.
                                                         4
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 1   new vendor. Machock Decl. ¶ 8.

 2             PayPal did not make its decision public, and did not intend to. Tillery Decl., Ex. G

 3   (Declaration of Justin Higgs (“Higgs Decl.”)) ¶ 4. FSS, however, immediately publicized

 4   PayPal’s decision on its Infowars website, posting on September 21, 2018 an article entitled:
                                                                                          7
 5   “Bombshell: PayPal Bans Infowars After Lobbying By Soros-Funded Group.” Id. ¶ 5. PayPal

 6   has since learned that FSS surreptitiously recorded its telephone conversation with PayPal’s

 7   representatives in violation of California law, which it subsequently posted to its Infowars

 8   website. Machock Decl. ¶¶ 6, 11.8

 9             Ten days after PayPal had provided notice, FSS filed the present lawsuit and its

10   “emergency” motion for a temporary restraining order. FSS does not claim to have made any

11   efforts prior to filing suit to secure an alternative payment processing vendor.

12   III.      LEGAL STANDARD
13             A temporary restraining order is a matter of equitable discretion and is “an extraordinary

14   remedy that may only be awarded upon a clear showing that the plaintiff is entitled to such

15   relief.” Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7, 22 (2008). The analyses

16   for granting a temporary restraining order and a preliminary injunction are “substantially

17   identical.” Stuhlbarg Int’l Sales Co. v. John D. Brush & Co., 240 F.3d 832, 839 n.7 (9th Cir.

18   2001).

19             A plaintiff seeking preliminary injunctive relief must establish “[1] that he is likely to

20   succeed on the merits, [2] that he is likely to suffer irreparable harm in the absence of preliminary

21   relief, [3] that the balance of equities tips in his favor, and [4] that an injunction is in the public

22   interest.” Winter, 555 U.S. at 20. Alternatively, an injunction may issue where “the likelihood of

23   success is such that serious questions going to the merits were raised and the balance of hardships

24   tips sharply in plaintiff's favor,” provided that the plaintiff can also demonstrate the other Winter

25   factors. Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131-32 (9th Cir. 2011)

26   7
       See https://www.infowars.com/bombshell-paypal-bans-infowars-after-lobbying-by-soros-
     funded-group/.
27   8
       See https://www.infowars.com/shock-audio-listen-to-the-phone-call-where-paypal-banned-
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 1   (citation and internal quotation marks omitted). Under either standard, the plaintiff bears the

 2   burden of making a clear showing on these elements and on entitlement to this extraordinary

 3   remedy. Earth Island Inst. v. Carlton, 626 F.3d 462, 469 (9th Cir. 2010).

 4   IV.       ARGUMENT
 5             A.     FSS has not established, and cannot establish, that it is likely to suffer
                      irreparable harm.
 6

 7             A party seeking injunctive relief must offer evidence of likely irreparable harm, and may

 8   not rely on “unsupported and conclusory statements regarding harm [the plaintiff] might suffer.”

 9   Pom Wonderful LLC v. Pur Beverages LLC, No. CV1306917MMMCWX, 2015 WL 10433693,

10   at *5 (C.D. Cal. Aug. 6, 2015) (quoting Herb Reed Enterprises, LLC v. Fla. Entm't Mgmt., Inc.,

11   736 F.3d 1239, 1250 (9th Cir. 2013)) (emphasis in original). In this case, the only evidence that

12   FSS points to in support of its irreparable harm claims are a few conclusory statements in the

13   declaration of Alex Jones. See TRO Br. at 20.

14             Mr. Jones states that “[a] significant portion [but not all] of purchases from the Store Site

15   occur using the PayPal service.” And he baldly asserts that “[t]here is no adequate payment

16   alternative to PayPal for Plaintiff’s business model,” and that “the loss of PayPal would lead to

17   the loss of revenue in an amount Plaintiff cannot calculate because users will no longer purchase

18   goods on the Store Site.” Jones Decl. ¶¶ 19-20. Notably, Mr. Jones does not explain why FSS

19   cannot rely on other existing payment methods. And he does not offer any facts concerning any

20   efforts whatsoever by FSS to find an alternative payment processor since it received notice of

21   termination from PayPal on September 20.

22             Mr. Jones’ statements are precisely the kind of conclusory assertions that the Ninth Circuit

23   repeatedly has rejected as insufficient to establish irreparably harm. See, e.g., Herb Reed

24   Enterprises, LLC v. Fla. Entm't Mgmt., Inc., 736 F.3d 1239, 1250 (9th Cir. 2013) (holding that

25   pronouncements “grounded in platitudes rather than evidence” are insufficient); Caribbean

26   Marine Servs. Co., Inc. v. Baldridge, 844 F.2d 668, 674 (9th Cir. 1988) (holding that

27   “[s]peculative injury does not constitute irreparable injury sufficient to warrant granting a

28   preliminary injunction” and adding that a “plaintiff must demonstrate immediate threatened
                                                       6
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 1   injury as a prerequisite to preliminary injunctive relief” (emphasis in original)). Indeed, Mr.

 2   Jones’ statements are worse than conclusory—they are counterfactual in key respects.

 3   Specifically, Mr. Jones’ unsupported assertion that there is no adequate payment processing

 4   alternative to PayPal is contrary to fact as there are numerous other payment processing providers
                                                                                          9
 5   that FSS could utilize instead of PayPal to handle payments for FSS’ online store. See Hrabosky

 6   Decl. ¶¶ 3-6.

 7             Additionally, even if FSS had evidence to back up its claims of imminent loss of sales,

 8   “[l]oss of sales alone will not support a finding of irreparable injury ‘because acceptance of that

 9   position would require a finding of irreparable harm to every plaintiff regardless of

10   circumstances.’” Aurora World, Inc. v. Ty Inc., 719 F. Supp. 2d 1115, 1169 (C.D. Cal. 2009)

11   (quoting Reebok Intern. Ltd. v. J. Baker, Inc., 32 F.3d 1552, 1557 (Fed. Cir. 1994)). Calculating

12   lost sales—based on historical sales records or other evidence—is a common exercise for

13   damages expert witnesses in litigation. And FSS offers no support for its assertion that its lost

14   sales will be impossible to calculate or that he attempted to mitigate any alleged harm by

15   transitions to a new payment processor.

16             FSS’ cursory loss of goodwill argument fairs no better. The only evidence it cites are a

17   few news articles reporting on PayPal’s decision to stop doing business with FSS. See TRO Br.

18   at 21. But that publicity was self-inflicted. PayPal did not publicize its decision to terminate

19   FSS’ accounts, and it did not intend to. Higgs Decl. ¶ 4. Rather, FSS affirmatively chose to

20   publicize PayPal’s decision, calling it a “ban” prompted by lobbying by a “Soros-funded group.”

21   Id. ¶ 5. Furthermore, that such publicity will actually harm FSS’ business—which is based on

22   generating controversy—is pure speculation. Notably, FSS has not offered any evidence of a loss

23   of sales or other business impact since it disclosed PayPal’s decision. And “a finding of

24   reputational harm may not be based on ‘pronouncements [that] are grounded in platitudes rather

25   than evidence.’” Titaness Light Shop, LLC v. Sunlight Supply, Inc., 585 Fed. Appx. 390, 391 (9th

26   Cir. 2014) (quoting Herb Reed, 736 F.3d at 1250) (brackets in original); see also Pom Wonderful,

27
     9
28       FSS itself alleges that PayPal only has a 40% market share. See TRO Br. at 17.
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 1   2015 WL 10433693, at *5.

 2             In short, FSS has failed to establish a likelihood of irreparable harm, and the Court should

 3   deny FSS’ motion on that basis alone. See, e.g., Realtek Semiconductor, Corp. v. LSI Corp., No.

 4   C-12-3451-RMW, 2014 WL 2738226, at *4 (N.D. Cal. June 16, 2014) (“[i]rreparable harm is an

 5   essential prerequisite for a grant of injunctive relief[.]”); A&A Int'l Apparel, Inc. v. Xu, No. CV

 6   15-644-GW(AGRX), 2015 WL 12850544, at *3 (C.D. Cal. Jan. 29, 2015) (“the moving party

 7   must first demonstrate that such injury is likely before other requirements for the issuance of an

 8   injunction will be considered.” (internal quotations omitted).

 9             B.     FSS has not established, and cannot establish, a likelihood of prevailing on the
                      merits of any of its claims.
10

11             FSS’ complaint against PayPal includes three causes of action: a claim under the Unruh

12   Act, a claim under California Business and Professions Code § 17200, and a claim for breach of

13   the implied covenant of good faith and fair dealing. FSS’ motion for injunctive relief fails to

14   establish a likelihood of success on the merits as to any of these claims.

15                    1.      The Unruh Act does not apply to FSS or its claims
16             Under the Unruh Act, businesses may not “exclude individuals who wear long hair or

17   unconventional dress, who are black, who are members of the John Birch Society, or who belong

18   to the American Civil Liberties Union, merely because of these characteristics or associations.”

19   In re Cox, 3 Cal. 3d 205, 217-18 (1970) (emphasis added). FSS is not an “individual,” or even an

20   association of likeminded individuals. It is a Texas limited liability company. See Compl. ¶ 13.

21   And FSS has not cited, and PayPal has been unable to locate, a single Unruh Act case that did not

22   involve discrimination against an individual. The Court should reject FSS novel and entirely

23   unsupported assertion that an Unruh Act claim can survive without any claim of individual

24   discrimination.

25             The plain language of the Unruh Act describes individual characteristics that can only be

26   held by natural persons. Section 51 provides:

27             All persons within the jurisdiction of this state are free and equal, and no matter what their
               sex, race, color, religion, ancestry, national origin, disability, medical condition, genetic
28             information, marital status, sexual orientation, citizenship, primary language, or
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 1             immigration status are entitled to the full and equal accommodations, advantages,
               facilities, privileges, or services in all business establishments of every kind whatsoever.
 2

 3   Cal. Civ. Code § 51(b). Although courts have added various categories to the list in Section 51

 4   over the years, the California Supreme Court has held that the characteristics listed in Section

 5   51(b) are “illustrative” of the kinds of discrimination prohibited by the Act. In re Cox, 3 Cal. 3d

 6   at 212.

 7             In Harris v. Capital Growth Investors XIV, 52 Cal. 3d 1142 (1991), the California

 8   Supreme Court examined the legislative history of the Unruh Act to determine what other types

 9   of characteristics could be afforded protected-class status under the Act. The court noted that the

10   Legislature emphasized the importance of Section 51’s enumerated list of characteristics by

11   repeating it three times. Id. at 1160; see also Cal. Civ. Code §§ 51(b), 51(c), 52(d). Accordingly,

12   the California Supreme Court held that “[i]n order to give significance to the Legislature’s

13   specific and repeated emphasis on these categories, we must ascertain their common element,”

14   which the court found to be “personal as opposed to economic characteristics.” Harris, 52 Cal.

15   3d at 1160.

16             The characteristics enumerated in Section 51 apply only to natural persons, and not to

17   companies. A company obviously lacks a sex, race, color, or sexual orientation. In this context,

18   interpreting the term “person” in Section 51 to include a company would make no sense and

19   would therefore violate a basic tenet of statutory construction under California law. See, e.g.,

20   Arnett v. Dal Cielo, 14 Cal. 4th 4, 22 (1996) (“Courts should give meaning to every word of a

21   statute if possible, and should avoid a construction making any word surplusage.”) (citing

22   Delaney v. Superior Court, 50 Cal. 3d 785, 798–99 (1990)). Because a corporation that has no

23   “sex” or “race” it cannot possibly make claims for discrimination on that basis, the Court should

24   not interpret Section 51(b) as providing such a right.

25             FFS may seek to argue that Rotary Club of Duarte v. Board of Directors, 178 Cal. App.

26   3d 1035 (1986), stands for the proposition that entities, and not just individuals, may bring claims

27   under the Unruh Act. But Rotary Club actually underscores the fact a that company cannot bring

28   claims for alleged discrimination based on company practices or characteristics. In Rotary Club,
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 1   a local chapter of the Rotary Club decided to admit female members in violation of the male-only

 2   membership rules set by Rotary Club International. Id. at 1044–46. Thereafter, the local club’s

 3   charter was revoked by the international organization. Id. The local chapter and several female

 4   members brought a claim for declaratory and injunctive relief against Rotary Club International

 5   for sex discrimination against female members. Id. The court held that the international

 6   organization’s actions constituted sex discrimination in violation of the Unruh Act. Id. at 1059.

 7   The court also found that the local chapter of the Rotary Club could bring a claim in conjunction

 8   with the female members because the action taken against the local chapter was “on account of its

 9   association with women.” Id. at 1061 (citing Winchell v. English, 62 Cal. App. 3d 125, 129

10   (1976)).

11             At most, Rotary Club stands for the proposition that an association can bring claims for

12   injunctive and/or declaratory relief under the Unruh Act in response to discrimination against

13   individual members of the association. Here, FSS is not an association with members. And it

14   does not purport to bring its claims on behalf of in association with any individual. FSS is

15   bringing its claims on its own behalf, alleging that it, not any individual, is the victim of

16   discrimination. See, e.g., TRO Br. at 12 (accusing PayPal of terminating its contract with FSS

17   “because of the views expressed on the News Sites, and the views of the authors of literature sold

18   on the Store Site”). Neither the text of the Unruh Act nor any case interpreting the Act supports

19   such an application of the statute.

20             Furthermore, even if a company, as opposed to an individual or an association of

21   individuals, could bring an Unruh Act claim, FSS fails to establish that it is a member of a

22   protected group under the Act. Indeed, FSS does not claim that it is a member of any group

23   enumerated in the statute or any other specific group—such as the John Birch Society or the

24   ACLU, mentioned in In re Cox—that is subject to discrimination. Rather, FSS merely asserts

25   that it is “politically conservative and sells to a conservative audience” and that PayPal is

26   cancelling its accounts for these reasons. TRO Br. at 12. FSS’ amorphous assertions stand in

27   contrast to those at issue in McCalden v. California Library Ass’n, 955 F.2d 1214 (9th Cir. 1990),

28   cited by FSS. There, a divided panel of the Ninth Circuit held that on a motion to dismiss,
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 1   plaintiff’s allegation that he was discriminated against because he was “a member of a class of

 2   ‘Holocaust Revisionists,’ who are subject to invidious discrimination because they spread

 3   unpopular views about the history of the Holocaust” was sufficient state a claim under the Unruh

 4   Act. Id. at 1220-21. But even in McCalden the majority made clear that its decision was based

 5   on the standard for evaluating a motion to dismiss. Id. at 1221(“On a motion to dismiss, however,

 6   the court must deem the complaint's allegations to be true.”). That standard for evaluating the

 7   likelihood of success on the merits in the context of a motion for a TRO is much more stringent

 8   and places the burden of proof squarely on the plaintiff.

 9             If vague claims of political affiliation with the right or the left were sufficient to invoke

10   the Unruh Act, the Act would effectively be without limits. Indeed, if FSS’ sweeping

11   interpretation were applied, advertisers could be sued for discrimination by television production

12   companies or television stations for pulling their advertising from television shows whose content

13   they no longer wish to be affiliated with. Likewise, vendors of commercial services could be

14   sued for not providing business services to other companies whose products, branding, or

15   marketing are inconsistent with the vendor’s own branding or marketing. No court has ever

16   endorsed such a boundless interpretation of the statute’s provisions.

17             In short, the Unruh Act does not apply to FSS’ claims and, therefore, FSS has not

18   established and cannot establish a likelihood of success on the merits.

19                    2.      FSS has not established a likelihood of success on its UCL claim
20             California’s unfair competition law (“UCL”) defines “unfair competition” as “any

21   unlawful, unfair or fraudulent business act or practice and unfair, deceptive, untrue or misleading

22   advertising.” Cal. Bus. & Prof. Code § 17200. By defining unfair competition to include “any

23   unlawful” business practice, the UCL “permits violations of other laws to be treated as unfair

24   competition that is independently actionable.” Kasky, 27 Cal. 4th at 949. As the basis for its

25   UCL claim here, FSS contends that PayPal’s Acceptable Use Policy, incorporated by reference

26   into PayPal’s User Agreement, violates the Consumer Legal Remedies Act (the “CLRA”), which

27   prohibits certain “unfair methods of competition and unfair or deceptive acts or practices,”

28   including “[i]nserting an unconscionable provision in the contract.” FSS claims that PayPal’s
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 1   Acceptable Use Policy is unconscionable because it “mentions nothing about evaluating a user’s

 2   off-platform activities as a basis for finding that the user has violated the policy.” TRO Br. at 14

 3   (emphasis added). FSS’ argument is factually misleading and legally incorrect. It also ignores

 4   that the fact that PayPal has the contractual right, as set forth in its User Agreement, to terminate

 5   any user account, for any reason, at its discretion. Tillery Decl., Ex. A at 33-34.

 6             Unconscionability is a defense to the enforcement of a contract and the party asserting the

 7   defense—here, FSS—bears the burden of proof. Sanchez v. Valencia Holding Co., LLC, 61 Cal.

 8   4th 899, 911(2015). For FSS to prevail on this defense, it must establish both procedural and

 9   substantive unconscionability. Procedural unconscionability “addresses the circumstances of

10   contract negotiation and formation, focusing on oppression or surprise due to unequal bargaining

11   power.” Pinnacle Museum Tower Assn. v. Pinnacle Mkt. Dev. (US), LLC, 55 Cal. 4th 223, 246

12   (2012). And substantive unconscionability “pertains to the fairness of an agreement’s actual

13   terms and to assessments of whether they are overly harsh or one-sided.” Id. California courts

14   have intentionally set an extremely high bar for establishing unconscionability. As the California

15   Supreme Court reiterated, “[c]ommerce depends on the enforceability, in most instances, of a

16   duly executed written contract” and “[a] party cannot avoid a contractual obligation merely by

17   complaining that the deal, in retrospect, was unfair or a bad bargain.” Sanchez, 61 Cal. 4th at

18   911. Rather, to establish unconscionability, the terms of the agreement must be “overly harsh,”

19   “unduly oppressive,” “so one-sided as to shock the conscience,” or “unfairly one-sided.” Sonic-

20   Calabasas A, Inc. v. Moreno, 57 Cal. 4th 1109, 1145, 311 P.3d 184, 202 (2013) (internal

21   quotation marks omitted). FSS’ claim does not (and cannot) meet this demanding standard.

22             First, FSS offers no basis for a finding of procedural unconscionability in agreeing to the

23   terms of PayPal’s Acceptable Use Policy, which is incorporated by reference into the User

24   Agreement. FSS is a sophisticated business entity operating multiple for-profit websites with

25   millions of visitors. If FSS was concerned with the terms PayPal’s Acceptable Use Policy, it

26   could have chosen (and now must choose) a different payment processing option. According to

27   FSS, “PayPal is a popular method by which customers purchase goods on the Store Site,” but not

28   the only one. TRO Br. at 20. FSS also asserts that PayPal only controls 40% of the online
                                                      12
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 1   payment market (TRO Br. at 17), leaving plenty of alternatives to choose from. Thus, even

 2   assuming the truth of FSS’ contention that the Store Site “could not exist without being able to

 3   use online payment processing services” (TRO Br. at 16-17), it is not entitled to use PayPal’s

 4   service in violation of PayPal’s User Agreement, including its Acceptable Use Policy.

 5             Second, FSS also fails to establish a basis for a finding of substantive unconscionability.

 6   “A contract term is not substantively unconscionable when it merely gives one side a greater

 7   benefit; rather, the term must be so one-sided as to shock the conscience.” Pinnacle, 55 Cal. 4th

 8   at 246 (internal quotations omitted). No reasonable person’s conscience would be shocked at

 9   PayPal’s User Agreement, which allows PayPal, “in its sole discretion,” to terminate any user

10   agreement. Tillery Decl., Ex. A at 33-34. The same is true for PayPal’s Acceptable Use Policy,

11   which directly prohibits PayPal users from using “the PayPal service for activities that … “relate

12   to transactions involving … the promotion of hate, violence, racial or other forms of intolerance

13   that is discriminatory.” TRO Br., Ex. 8 (emphasis added). FSS does not deny that the content of

14   its websites violates this straightforward and reasonable policy designed promote PayPal’s core

15   values of tolerance, diversity, inclusion, and equity.

16             Rather, FSS’ entire argument is based on the false premise that the “Infowar Store”
               10
17   website (“Store Site”), which sells a variety of products, is somehow separate and distinct from

18   the Infowars and PrisonPlanet websites (“News Sites”) that peddle in hate-filled and
19   discriminatory rhetoric. This argument ignores PayPal’s User Agreement, which gives PayPal
20   the contractual right to terminate any user agreement, for any reason, at its discretion. It is also

21   wrong as a matter of fact. The News Sites include prominent links to the Store Site and

22   advertisements for products sold on the Store Site. See Tillery Decl., Exs. B and C (screen shots

23   News Sites home pages). Conversely, the Store Site touts the fact that proceeds from product

24   sales are being used to support the activities of the News Sites. Id., Ex. D (screen shot of the

25   Store Site homepage) (“We’re proud of our fellow patriots and Infowarriors for taking part and

26   helping to support us in the fight for truth. … Your gracious support for our crew in the fight for

27
     10
28        https://www.infowarsstore.com/
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 1   liberty goes directly towards independent alternative news media, and we owe all of our success

 2   and effectiveness to you.”). Indeed, when addressing its purported harm, FSS highlights the close

 3   relationship between the News Sites and the Store Site, arguing that a permanent limitation of

 4   Store Site’s PayPal Account would result in a loss of “good will and prospective visitors of the

 5   News Sites.” TRO Br. at 8. The News Sites also directly solicit donations and subscription fees,

 6   also processed by PayPal.

 7             It appears FSS wants to have it both ways. With respect to the merits of its UCL claim, it

 8   alleges that the News Sites and Store Sites are unrelated, framing PayPal’s decision to terminate

 9   the Store Site’s account as unconscionably based on alleged “off-platform activities” (i.e., the

10   activities of the News Sites). See TRO Br. at 14. But when it comes to its alleged harm, FSS

11   reverses course, stressing the close relationship between the News Sites and Store Sites and

12   claiming that the termination of the Store Site’s account will result in harm to the News Sites.

13   See TRO Br. 8. Despite FSS’ conflicting arguments, the record is clear: the activities of News

14   Sites and the sales on Store Site are directly related and violate PayPal’s Acceptable Use Policy.

15   Finally, there is nothing in the PayPal’s User Agreement or Acceptable Use Policy to suggest that

16   PayPal would tolerate the hateful and discriminatory activities of one of its users, so long as it

17   takes place in a different forum.

18             For these reasons, FSS cannot establish that PayPal acted unconscionably in deciding to

19   exercise is contractual right to terminate its relationship FSS.

20                    3.      FSS has not established a likelihood of success on its breach of the
                              implied covenant claim
21
               There is no question that the express terms of PayPal’s User Agreement, which governs its
22
     business relationship with FSS, gives PayPal the right, in its “sole discretion,” to restrict or
23
     terminate a user’s account, “for any reason and at any time[.]” Tillery Decl., Ex. A at 33-34. FSS
24
     does not argue otherwise. Nor does it argue that this provision renders the parties’ agreement
25
     illusory such that it is unenforceable. Rather, FSS argues, without citation, that PayPal has
26
     nonetheless violated the implied covenant because it did not fairly exercise its discretionary
27
     power to terminate FSS’ accounts. See TRO Br. at 19. FSS’ argument misinterprets the law and
28
                                                     14
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 1   fails to establish a likelihood of success on the merits.

 2             Under California law, Courts may not read an implied covenant into a contract to prohibit

 3   a party from doing something that is expressly permitted by the agreement. Carma, 2 Cal. 4th at

 4   374. Thus, “courts are not at liberty to imply a covenant directly at odds with a contract’s express

 5   grant of discretionary power except in those relatively rare instances when reading the provision

 6   literally would, contrary to the parties’ clear intention, result in an unenforceable, illusory

 7   agreement.” Third Story Music, 41 Cal. App. 4th at 808; accord Cry Wolf v. Walt Disney

 8   Pictures & Television, 162 Cal. App. 4th 1107, 1122 (2008) (“[S]o long as the agreement is

 9   supported by adequate consideration such that the grant of discretion does not render it illusory,

10   the court will not recognize or enforce an implied term directly at odds with an express

11   contractual grant of unfettered discretion.”).

12             In Third Story Music, for example, the parties had an agreement under which Warner

13   Communications agreed to manufacture, sell, distribute, and advertise the works of Tom Waits,

14   but the agreement also stated that Warner “may at our election refrain from any or all of the

15   foregoing.” Id. at 801. The plaintiff sued for breach of the implied covenant of good faith and

16   fair dealing, claiming that Warner had impeded the plaintiff from receiving the benefits of the

17   contract (a percentage of royalties) by allowing lucrative deals to fall apart. The Court of Appeal

18   concluded as a matter of law that—because there was consideration for the agreement, and the

19   agreement gave Warner discretionary power and expressly allowed Warner to refrain from

20   marketing the Waits recordings--Warner had no duty of good faith in exercising its discretion. Id.

21   at 808–09.

22             Consistent with this established law, California courts consistently have declined to apply

23   the implied covenant to express contractual provisions allowing for termination for any reason.

24   See, e.g., PMC, Inc. v. Porthole Yachts, Ltd., 65 Cal. App. 4th 882, 890–92 (1998) (rejecting

25   application of implied covenant to termination provision allowing for termination for any reason);

26   Gerdlund v. Elec. Dispensers Int’l, 190 Cal. App. 3d 263, 277 (1987) (error to apply implied

27   covenant to express provision allowing notice of termination to be given “at any time and for any

28   reason”). The present case is no different. PayPal’s relationship with FSS is a contractual
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 1   relationship between two business entities, nothing more. And PayPal has done only what the

 2   parties’ contract expressly gives it the right to do. Under these circumstances, there can be no

 3   breach of the implied covenant. See Vectren Commc'ns Servs. v. City of Alameda, No. C 08-3137

 4   SI, 2009 WL 2566722, at *4–6 (N.D. Cal. Aug. 18, 2009).

 5                                    *              *               *

 6             In sum, FSS has failed to establish a likelihood of success on the merits of any of its

 7   claims. And “[w]hen . . . a party has not shown any chance of success on the merits, no further

 8   determination of irreparable harm or balancing of hardships is necessary.” Global Horizons, Inc.

 9   v. United States Dep’t of Labor, 510 F.3d 1054, 1058 (9th Cir. 2007). Accordingly, the Court

10   should deny FSS’ motion.

11             C.     The balance of hardships and the public interest are in PayPal’s favor
12             Although the Court need not reach the issue, given FSS’ other failures of proof, the

13   balance of the equities also tips strongly in PayPal’s favor. The relief FSS seeks—forcing

14   PayPal to continue to provide services to a commercial enterprise whose business objective and

15   practices are contrary to PayPal’s business practices—would violate PayPal’s exercise of its

16   constitutionally protected right to free speech. Cf., Miami Herald Publ’g Co. v. Tornillo, 418

17   U.S. 241 (1974) (holding a right of reply statute unconstitutional as coerced speech in violation

18   of the First Amendment).

19             By its own admission, FSS trades in inflammatory and controversial content. That is its

20   business. FSS fails to cite any authority for the proposition that a private, non-governmental

21   actor such as PayPal may be compelled to provide commercial services to a business whose

22   products and messages are contrary to its own core company values. A purveyor of hate speech

23   and discrimination is not entitled to compel a private, non-governmental service provider to

24   continue to do business with such an entity. To the contrary, such compelled support for private

25   speech raises serious First Amendment concerns. See Janus, 138 S. Ct. at 2464 (“Compelling a

26   person to subsidize the speech of other private speakers raises … First Amendment concerns.”)

27   “As Jefferson famously put it, ‘to compel a man to furnish contributions of money for the

28   propagation of opinions which he disbelieves and abhor[s] is sinful and tyrannical.’” Id. (quoting
                                                      16
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 1   A Bill for Establishing Religious Freedom, in 2 Papers of Thomas Jefferson 545 (J. Boyd ed.

 2   1950)). FSS may have a right to publish what it publishes on the Internet. But no law requires

 3   PayPal to provide its services to help FSS reap a profit or allows FSS to trade on PayPal’s good

 4   name and brand. For the same reasons, the public interest would not be served by FSS’

 5   unprecedented requested injunction.

 6             Furthermore, FSS’ conduct related to this matter constitutes unclean hands, which “closes

 7   the doors of a court of equity to one tainted with inequitableness or bad faith relative to the matter

 8   in which he seeks relief.” Precision Instrument Mfg. Co. v. Auto. Maint. Mach. Co., 324 U.S.

 9   806, 814 (1945). FSS demonstrated remarkable bad faith (and likely violated California law)

10   when it surreptitiously recorded, without PayPal’s consent, the very telephone conversation in

11   which PayPal apprised FSS of its termination decision and gave FSS ten business days to

12   transition to a new service provider. Machock Decl. ¶¶ 6, 11. FSS continued to demonstrate bad

13   faith by promptly posting the surreptitiously recorded call on its website, again without notice to

14   or permission from PayPal. Mr. Jones himself, at the conclusion of the posted video including the
                                                                               11
15   surreptitiously recorded call, requests that his listeners “cancel PayPal.”    Mr. Jones’ own
16   statement on the video belies his belated assertion of irreparable harm in his declaration and
17   further demonstrates FSS’ bad faith.
18   V.        CONCLUSION
19             FSS’ motion for a temporary restraining order is long on self-serving rhetoric and almost
20   completely lacking in factual or legal support. FSS has not established and cannot establish any

21   genuine risk of irreparable harm—there are any number of other companies to whom FSS could

22   turn for payment processing services. And FSS’ legal claims are unprecedented and unfounded.

23   If countenanced, FSS’ claims would force PayPal to continue to do business with a company

24   whose mission and message are contrary to its own, notwithstanding PayPal’s clear contractual

25   right to end the parties’ relationship. For these reasons, PayPal respectfully requests that the

26   Court deny FSS’ Motion for a Temporary Restraining Order and Preliminary Injunction in its

27   11
        See https://www.infowars.com/shock-audio-listen-to-the-phone-call-where-paypal-banned-
28   infowars/.
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                       PAYPAL’S OPPOSITION TO PLAINTIFF’S EMERGENCY MOTION FOR
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 1   entirety.

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 4                                                Respectfully submitted,

 5   Dated: October 4, 2018                       KEKER, VAN NEST & PETERS LLP
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 7                                          By:   /s/ Khari J. Tillery
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                    PAYPAL’S OPPOSITION TO PLAINTIFF’S EMERGENCY MOTION FOR
                  A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                  Case No. 5:18-cv-06013 LHK (SVK)
     1306235
